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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORIDA
Miami Division
Case Number: 19-60448-CIV-MORENO
ABS-CBN CORPORATION,
Plaintiffs,
vs.

DRAMALIKES.COM, et al.,

Defendants.
/

 

ORDER GRANTING PLAINTIFFS’ MOTION FOR ORDER AUTHORIZING
ALTERNATE SERVICE OF PROCESS ON DEFENDANTS PURSUANT TO FEDERAL
RULE OF CIVIL PR()CEDURE 4(f)(3)

THIS CAUSE came before the Court upon Plaintiffs’ Motion for Order Authorizing
Alternate Service of Process on Defendants Pursuant to Federal Rule of Civil Procedure 4(l)(3)
(D.E. 5), filed on Februax_'y 21, 2019.

THE COURT has considered the motion, the pertinent portions of the record, and being
otherwise fully advised in the premises, it is

ADJUDGED that the motion is GRANTED. The Court authorizes alternate service of

process as allowed by Federal Rule of Civil Procedure 4(D(3).

DONE AND ORDERED 1n Charnbers at Miami, Florida, this¢F f of P@Z 4 2019.

FEDERIC A'.'"'MoRENo
UNITED sTATEs DlsTRlCT JUDGE

 

 

Copies furnished to:

Counsel of Record

 

